            Case 3:22-cv-03455-CRB Document 25 Filed 08/01/22 Page 1 of 2



                                   UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA


                                          RELATED CASE ORDER


         A Motion for Administrative Relief to Consider Whether Cases Should be Related or a Sua Sponte
Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been filed. The time for
filing an opposition or statement of support has passed. As the judge assigned to case

         22-cv-00990-JD          Christopher Williams, et al v. Wells Fargo Bank, N.A., et al
        I find that the more recently filed case(s) that I have initialed below are related to the case assigned
to me, and such case(s) shall be reassigned to me. Any cases listed below that are not related to the case
assigned to me are referred to the judge assigned to the next-earliest filed case for a related case
determination.

 Case                    Title                                      Related Not Related
 22-cv-03455-CRB Perkins v. Wells Fargo, N.A. et al JD


                                                    ORDER
         0The parties are instructed that all future filings in any reassigned case are to bear the initials of the
newly assigned judge immediately after the case number. Any case management conference in any
reassigned case will be rescheduled by the Court. The parties shall adjust the dates for the conference,
disclosures and report required by FRCivP 16 and 26 accordingly. Unless otherwise ordered, any dates for
hearing noticed motions are vacated and must be re- noticed by the moving party before the newly
assigned judge; any deadlines set by the ADR Local Rules remain in effect; and any deadlines established
in a case management order continue to govern, except dates for appearance in court, which will be
rescheduled by the newly assigned judge.


Dated: August 1, 2022                                   By:
                                                              JAMES DONATO
                                                              United States District Judge




                                                        1
          Case 3:22-cv-03455-CRB Document 25 Filed 08/01/22 Page 2 of 2



                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


                                       CLERK’S NOTICE




         The court has reviewed the motion and determined that no cases are related and no
 reassignments shall occur.




Dated:                                          By:
                                                      Lisa Clark, Deputy Clerk




                                                2
